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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                              HARRISONBURG DIVISION


UNITED STATES OF AMERICA,                    )       Criminal Case No. 5:03cr30054-2
                                             )
v.                                           )       2255 FINAL ORDER
                                             )
BRUCE EDWARD WOODS.                          )       By: Norman K. Moon
                                             )       United States District Judge

       In accordance with the accompanying Memorandum Opinion, it is hereby ORDERED

and ADJUDGED that the United States’ motion to dismiss (Docket No. 261) is GRANTED;

Woods’ motion pursuant to 28 U.S.C. § 2255 (Docket No. 252) is hereby DISMISSED; and this

action shall be STRICKEN from the active docket of this court.

       Further, finding that Woods has failed to make a substantial showing of the denial of a

constitutional right as required by 28 U.S.C. § 2253(c), a certificate of appealability is DENIED.

       The Clerk is directed to send a certified copy of this order and the accompanying

memorandum opinion to the petitioner.

       ENTER: This 2nd day of January, 2013.
